
403 So. 2d 286 (1981)
Ex parte Richard GRAHAM.
(Re: Richard Graham v. State of Alabama).
No. 79-568.
Supreme Court of Alabama.
August 21, 1981.
Eric A. Bowen of Hemphill &amp; Hayes, Montgomery, for petitioner.
Charles A. Graddick, Atty. Gen., and Ed Carnes and Nancy Perry, Asst. Attys. Gen., for respondent.

PETITION FOR WRIT OF CERTIORARI TO THE COURT OF CRIMINAL APPEALS 403 So. 2d 275
PER CURIAM.
WRIT QUASHED AS IMPROVIDENTLY GRANTED.
TORBERT, C.J., and MADDOX, FAULKNER, JONES, ALMON, SHORES, EMBRY, BEATTY and ADAMS, JJ., concur.
